Case 6:03-cr-00079-RC-JDL          Document 724        Filed 02/25/13     Page 1 of 3 PageID #:
                                           1912



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §            CRIMINAL NO. 6:03CR79-10
                                               §
KEVIE LENN JOHNSON                             §

                          REPORT & RECOMMENDATION OF
                         UNITED STATES MAGISTRATE JUDGE

       On February 15, 2013, the Court conducted a hearing to consider the government’s

petition to revoke the supervised release of Defendant Kevie Lenn Johnson. The government

was represented by Jim Middleton, Assistant United States Attorney for the Eastern District of

Texas, and Defendant was represented by Craig Bass.

       Defendant originally pled guilty to the offense of Possession of 5 Grams or More of a

Mixture or Substance Containing a Detectable Amount of Cocaine Base, also known as Crack

Cocaine, a Class C felony. The offense carried a statutory maximum imprisonment term of 20

years. The United States Sentencing Guideline range, based on a total offense level of 23 and a

criminal history category of VI, was 92 to 115 months. On May 7, 2004, District Judge Leonard

Davis sentenced Defendant to 103 months imprisonment followed by 3 years of supervised

release subject to the standard conditions of release, plus special conditions to include providing

the probation officer with access to any requested financial information for purposes of

maintaining lawful employment; and participating in a program of testing and treatment for drug

and alcohol abuse under the guidance and direction of the U.S. Probation Office . On April 29,

2008, Defendant’s imposed sentence of imprisonment was reduced pursuant to 18 U.S.C. § 3582

(c)(2); Defendant’s sentence of 103 months was reduced to 86 months, followed by 3 years of
Case 6:03-cr-00079-RC-JDL                Document 724           Filed 02/25/13         Page 2 of 3 PageID #:
                                                 1913



supervised release. On November 25, 2009, Defendant completed the term of imprisonment and

began his term of supervised release.

        Under the terms of supervised release, Defendant was prohibited from committing

another federal, state, or local crime and unlawfully using a controlled substance. In its petition,

the government alleges that Defendant violated his term of supervised release when he (1) was

convicted of Driving While Intoxicated in Panola County, Texas (Cause No. 26413) and

sentenced to a term of 30 days in jail; (2) was convicted in federal court for the offense of

Possession of a Stolen Firearm and subsequently sentenced to 100 months imprisonment,

followed by 3 years of supervised release (Criminal Action No. 6:12CR13)1; and (3) admitted to

using Valium on two separate occasions, in addition to testing positive for Benzodiazepines

(Valium).

        If the Court finds by a preponderance of the evidence that Defendant violated the

conditions of supervised release by being convicted for Unlawful Possession of a Firearm by a

Felon, Defendant will have committed a Grade B violation. U.S.S.G. § 7B1.1(a). Upon a

finding of a Grade B violation, the Court shall revoke probation or supervised release. U.S.S.G.

§ 7B1.3(a)(1).       Considering Defendant’s criminal history category of VI, the Guideline

imprisonment range for a Grade B violation is 21 to 27 months. U.S.S.G. § 7B1.4(a).

        If the Court finds by a preponderance of the evidence that Defendant violated the

conditions of supervised release by being convicted of the offense of Driving While Intoxicated

in Panola County, Texas or admitting to the use of Valium, Defendant will have committed a

Grade C violation. U.S.S.G. § 7B1.1(a). The Court may then revoke supervised release or

extend the term of supervised release and/or modify the conditions of supervision. U.S.S.G. §


1
 This term is to run consecutively to any future sentence imposed in connection with the revocation of the
Defendant’s term of supervised release in this case.

                                                         2
Case 6:03-cr-00079-RC-JDL        Document 724       Filed 02/25/13       Page 3 of 3 PageID #:
                                         1914



7B1.3(a)(2).   Considering Defendant’s criminal history category of VI, the Guideline

imprisonment range for a Grade C violation is 8 to 14 months. U.S.S.G. § 7B1.4(a).

       At the hearing, Defendant pled true to the allegations set forth above. The government

recommended 24 months imprisonment to run consecutively to the 100 month sentence imposed

in Criminal Action No. 6:12CR13, with no supervised release to follow.

       Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that

Defendant Kevie Lenn Johnson be committed to the custody of the Bureau of Prisons for a term
       .
of imprisonment of 24 months to run consecutively to the 100 month sentence imposed in

Criminal Action No. 6:12CR13, with no supervised release to follow.          The Court further

RECOMMENDS that the place of confinement be FCI Texarkana, Texas.

       Defendant has waived his right to object to the findings of the Magistrate Judge in this

matter so the Court will present this Report and Recommendation to District Judge Leonard

Davis for adoption immediately upon issuance.
            SIGNED this 19th day of December, 2011.
          So ORDERED and SIGNED this 25th day of February, 2013.




                                              3
